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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


MONSANTO COMPANY, PHARMACIA, LLC,
and SOLUTIA, INC.,

                    Plaintiffs,
          v.

MAGNETEK, INC.,                                 Case No. 4:23-cv-00204-HEA
GENERAL ELECTRIC CO.,
PARAMOUNT GLOBAL,                               Jury Trial Demanded
KYOCERA AVX COMPONENTS
CORPORATION,
CORNELL-DUBILIER ELECTRONICS, INC.
And THE GILLETTE COMPANY LLC,

                    Defendants.



                    REPLY IN SUPPORT OF MOTION TO
               INTERVENE BY KRAFT HEINZ FOODS COMPANY


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                                           Introduction

       Kraft Heinz Foods Company (“Kraft”) seeks to intervene because it, and not current

defendant Gillette Company LLC, is the actual successor-in-interest to P.R. Mallory & Co. Inc.

(“Mallory”) for the alleged liabilities at issue in this suit, including those under the 1972 Special

Undertaking (except for liability for Mallory’s legacy battery business, which is not at issue).

Monsanto Company (“Monsanto”)1 misrepresents the record from prior court proceedings to argue

that Kraft supposedly did not retain such alleged liability. Monsanto is 100% factually wrong, as

demonstrated below, but regardless this Court need not decide that question now because it must

accept as true all of Kraft’s allegations in its Motion under Rule 24’s deferential pleading

standards. This Motion is timely, necessary, non-prejudicial, and offers the most accurate and

practical way to promptly bring the correct Mallory-legacy party before this Court.

A.     Monsanto Ignores The Standard On A Motion To Intervene

       Under Eighth Circuit law, this Court “must accept as true all material allegations in the

motion to intervene and must construe the motion in favor of the prospective intervenor.” Nat’l

Parks Cons. Ass’n v. U.S. E.P.A., 759 F.3d 969, 973 (8th Cir. 2014). This is identical to the

standard applied to a motion to dismiss. Id.; Liddell v. Special Admin. Bd. of Transitional Sch.

Dist. of St. Louis, 894 F.3d 959, 965 (8th Cir. 2018); Glenn Golden v. Stein, 2021 WL 3087861,

at *6 (S.D. Iowa Feb. 3, 2021) (“the court ‘must accept as true all material allegations in the motion

to intervene and must construe the motion in favor of the prospective intervenor.’”)

       Therefore, this Court must accept as true the material allegation that, as the successor by

merger and name change of Kraft, Inc., Kraft Heinz Foods Company stands in the shoes of the




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 Monsanto filed an Opposition to Kraft’s Motion to Intervene. (ECF No. 125.) The other Plaintiffs,
Pharmacia, LLC and Solutia, Inc., state no objection to the Motion.
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“Seller” to the 1988 Stock Purchase Agreement (“1988 SPA”) and is the proper party responsible

for certain claims alleged in the Complaint (to the extent Plaintiffs can ever tie their claims to

PCBs at those Mallory operations). Once the Court properly relies upon such allegations,

Monsanto’s arguments against intervention based on Kraft merely being a supposed “contractual

indemnitor” have no support.

B.     Kraft Retained Liabilities Relating To The Historic Mallory Non-Battery Business

       Under the standard set forth above, the Court need not decide this issue in order to grant

this Motion. Nonetheless, Kraft sets forth the relevant corporate history below for the Court’s

understanding in light of Monsanto’s incorrect assertions and accusations in its Opposition.

       1. Under The 1988 SPA, Kraft Retained Liabilities Arising From Mallory’s Pre-
          1988 Business Operations And Rights To Insurance Covering Those Liabilities

       Monsanto’s Opposition rests on the incorrect premise that Kraft is merely Gillette’s

“indemnitor” with respect to alleged liabilities that Plaintiffs claim belong to Gillette as successor

to Mallory. But this mischaracterization of the 1988 SPA between Kraft’s and Gillette’s

predecessors, among other transactions, is belied by the corporate documents, decades of court

rulings, sworn testimony, expert analysis, and repeated statements by Kraft and Gillette

themselves, both of whom have engaged in a long course of dealing based on their mutual and

correct understanding that Kraft, as Mallory’s former owner, retained and is responsible for

Mallory’s pre-1988 non-battery business liabilities. The terms of the 1988 SPA confirm this

intention, which has already been judicially accepted and enforced. See P.R. Mallory & Co., Inc.

v. Am. States Ins. Co., No. 54C01-0005-CP-00156, 2004 WL 1737489, at *4, *15 (Ind. Cir. Ct.

July 29, 2004) (holding that the 1988 SPA reserved for Kraft, Inc. then known as Kraft Foods

North America, Inc., its “liability and policy rights” related to certain pre-closing Mallory

operations. As described herein, Kraft Heinz Foods Company is the successor by merger and name

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change to Kraft, Inc. and Kraft Foods North America, Inc.)

       Far from creating the mere contractual indemnitor relationship Monsanto misstates here,

the 1988 SPA acknowledges that Kraft already possessed and intended to retain certain pre-sale

liabilities of Mallory and others, which were expressly defined as “Seller Liability.” See 1988 SPA

§ 1.13 (ECF No. 123-1). Kraft’s “Seller Liability” included those liabilities of Mallory other than

those arising from past, present, or future “Battery Business” operations after the closing. Id. The

“Buyer” (who was Gillette’s predecessor) was required to cooperate with Kraft as needed to enable

Kraft to defend against “any” claim “arising out of or relating to any Seller Liability” it retained.

See id. § 5.1(d). Precisely because Kraft retained the pre-closing Mallory non-battery business

liabilities, it also agreed to hold harmless and indemnify the Buyer (now Gillette) against such

alleged liabilities if it was ever improperly sued (as here). See id. § 10.2(b). To cover its retained

Mallory liabilities and any costs of defending and indemnifying the Buyer, Kraft also retained its

rights under insurance policies issued to or covering Mallory. See id. §§ 5.11(a), 5.11(h).

       Thus, the agreement (and clear intention of) of the parties to the 1988 SPA, as long

understood by Kraft and Gillette alike, was that Kraft retained pre-sale liabilities arising from

Mallory’s pre-1988 non-battery business operations and its associated insurance rights, while the

Duracell battery business passed on to the Buyer, in whose shoes Gillette now stands.

       2. The Record And 2004 Decision From The P.R. Mallory Environmental Coverage
          Litigation Confirmed That Kraft Retained Historic Mallory Liabilities

       Kraft’s allegations here are fully consistent with the litigation history. For example, in

2000, Kraft initiated an insurance recovery action in the name of P.R. Mallory to recover more

than $50 million in costs that Kraft paid to remediate sites that were allegedly contaminated by

Mallory’s historic discontinued non-battery operations. See P.R. Mallory & Co., Inc. v. Am. States

Ins. Co., No. 54C01-0005-CP-00156, 2004 WL 1737489, at *1 (Ind. Cir. Ct. July 29, 2004) (“P.R.

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Mallory”). Kraft sought recovery as an insured under policies issued to or covering Mallory,

premised upon its own legal obligation to pay for liability allegedly arising from Mallory’s historic

pre-1988 business operations.

       Prior to Kraft and its insurers filing cross-motions for partial summary judgment regarding

Kraft’s insurance rights, Kraft and Gillette entered into a “Statement of Confirmation of Right to

Recovery Under Insurance Policies Issued to or Covering P.R. Mallory & Company, Inc.” (the

“Statement of Confirmation”), which confirmed their mutual understanding that Kraft possessed

its own insurance rights for its own historic Mallory liabilities, which it had retained under the

1988 SPA. Kraft and Gillette agreed, among other things, that: Kraft “sold its ongoing Duracell

battery business” in 1988, which Gillette thereafter possessed, but Kraft “remained legally

obligated for the liabilities” for “Mallory’s capacitor business and discontinued operations” prior

to the 1988 closing. (See Statement of Confirmation, attached hereto as Exhibit A, at 1-2.) Kraft’s

corporate representative also provided substantial testimony during the P.R. Mallory litigation

corroborating that Kraft had retained those pre-1988 Mallory liabilities. See Aug. 5, 2003 T. Giller

30(b)(6) Dep. Tr. at 37:19-23, 120:4-9, 131:23-132:11 which can be found in Stoll v. Kraft Foods

Global, Inc., Case No. 1:09-cv-00364-TWP-DML (S.D. Ind.) (“Stoll,” ECF No. 137-12).

Professor John C. Coates IV of Harvard Law School buttressed these conclusions in his October

2003 expert report, which was filed in the P.R. Mallory case. (See Stoll, ECF No. 137-8 at ¶¶ 9-

12.) Ruling on certain of those motions, the P.R. Mallory court fully agreed that, through these

corporate transactions, Kraft had “reserved” pre-1988 Mallory liabilities and insurance rights for

those liabilities. P.R. Mallory, 2004 WL 1737489, at *4. The court also concluded that Kraft’s

“satisfaction” of environmental liabilities arising from Mallory’s operations “was not voluntary

because Kraft’s payment was required by its reservation of liability and policy rights,” among



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other reasons. Id. at *15 (emphasis added).2

        3. The Full History Of The Stoll Litigation Confirms The 2004 P.R. Mallory
           Decision’s Conclusion That Kraft Retained Mallory’s Pre-1988 Non-Battery
           Business Liabilities

        Monsanto here attempts to revise how Kraft, Gillette, and courts have understood and

decreed this corporate history for decades by pointing to a misleading, cherry-picked selection of

filings from Stoll v. Kraft Foods Global, Inc., No. 1:09-CV-00364-TWP-DML (S.D. Ind.), a class

action involving more than 100 families that brought claims against Kraft related to alleged

contamination caused by an historic Mallory manufacturing facility in Attica, Indiana.

Specifically, Monsanto refers to arguments initially made in one set of summary judgment briefs

that were filed in Stoll by outside counsel for Kraft who were not involved in the prior P.R. Mallory

coverage litigation. Those arguments mistakenly attempted to deny that Kraft was responsible for

alleged Mallory liabilities related to the Attica, Indiana site.

        It appears Monsanto dove half-way into the record of that old case to provide these

summary judgment briefs to this Court, but then chose to stop reading. If Monsanto had kept

reading, it would have learned that this filing was promptly withdrawn, corrected, and

abandoned by Kraft’s counsel. Specifically, Monsanto omits that Kraft’s Stoll counsel: (1) filed

a motion to withdraw those same summary judgment arguments; (2) directly confirmed through

amended discovery responses that Kraft is, in fact, “the successor-in-interest for P.R. Mallory’s




2
  Kraft’s pending insurance coverage complaint seeking recovery of costs related to Monsanto’s
claims in this action fully accords with the foregoing record and rulings in the P.R. Mallory action.
See, e.g., Kraft Heinz Foods Company v. ACE Property & Casualty Insurance Company, et al.,
No. 49D01-2309-PL-038476 (Marion Cnty., Ind.), Compl. ¶ 85 (“Under the 1988 Stock Purchase
Agreement, Kraft retained and possesses the presently constituted rights and obligations of
Mallory’s non-battery business, including liability allegedly at issue in the Monsanto Suit and
insurance rights therefor under the Liability Insurance Policies.”); accord, id. ¶ 64 (citing P.R.
Mallory, 2004 WL 1737489, at *4, 11). This complaint is attached hereto as Exhibit B.
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ownership and operation of the Radio Materials facility in Attica, Indiana for the period from 1957

through January 1, 1979”; and (3) promptly settled the Stoll litigation, with the court denying all

pending summary judgment motions as moot. (Stoll, ECF Nos. 152, 153-3, 162). Monsanto blindly

relies on subsequently withdrawn and corrected arguments in a prior proceeding in which the court

did not rule that anyone other than Kraft is the successor-in-interest for Mallory’s pre-1988 non-

battery business liabilities.3

        In sum, (1) Kraft’s positions set forth in its Motion to Intervene in this litigation, (2) its

positions in the pending Indiana coverage action related to this case, (3) its ultimate positions and

the outcome of the Stoll case, (4) its positions and the court rulings based on a full record in the

earlier P.R. Mallory case, and (5) the language of the 1988 SPA and Statement of Confirmation,

all fully align with the long-established conclusion that Kraft is not merely an “indemnitor” of

Gillette but fully retained for itself the alleged liabilities from Mallory’s pre-1988 non-battery




3
  Based on their incomplete reading of the Stoll case filings, Monsanto argues that Kraft “should
be judicially estopped from taking positions regarding its status as a corporate successor to Mallory
that are inconsistent with the facts and the briefs in Stoll” and cites to Van Horn v. Martin, 812
F.3d 1180, 1182 (8th Cir. 2016) in support of this proposition. (Opp’n at 9.) However, the factors
enumerated in Van Horn demonstrate why judicial estoppel would be inappropriate here. “We look
to three factors to determine whether judicial estoppel should apply: (1) whether a party’s later
position is ‘clearly inconsistent’ with its previous position; (2) whether the party succeeded in
persuading the first court to accept its position; and (3) ‘whether the party seeking to assert an
inconsistent position would derive an unfair advantage ... if not estopped.’” Van Horn v. Martin,
812 F.3d 1180, 1182 (8th Cir. 2016) (citing Stallings v. Hussmann Corp., 447 F.3d 1041, 1047
(8th Cir. 2006) quoting New Hampshire v. Maine, 532 U.S. 742 (2001)). The Supreme Court in
New Hampshire noted that the purpose of the judicial estoppel doctrine is to “protect the integrity
of the judicial process.” 532 U.S. at 749. In examining the second factor, the Supreme Court stated,
“[a]bsent success in a prior proceeding, a party’s later inconsistent position introduces no risk of
inconsistent court determinations, and thus poses little threat to judicial integrity.” Id. at 750-51
(internal citations and quotations omitted). Here, not only did Kraft not succeed in persuading the
Stoll court to accept its position, it affirmatively withdrew that position and, as a result, Kraft’s
position is also not “clearly inconsistent” in this case. (Stoll, ECF No. 152, 153-1.) Lastly, as to
the third factor, Kraft would not derive an unfair advantage in this case by claiming to be the actual
successor-in-interest to Mallory for the alleged liabilities at issue in this suit.
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business operations (and associated insurance rights).

        4. Kraft Heinz Foods Company Is The Successor To Kraft, Inc., The Party To The
           1988 SPA

        Finally, Monsanto asserts that even if some Kraft entity retained the Mallory liabilities, it

is not Kraft Heinz Foods Company (the proposed intervenor here) that possesses them today.

Again, this is not true (and contrary to the allegations here anyway so the Court need not decide

this question now). As a matter of contract and law, Kraft Heinz Foods Company, in fact, possesses

the foregoing rights and liabilities that Kraft, Inc. retained as the “Seller” under the 1988 SPA,

based on the following corporate history since that agreement was entered:

    •   On or about December 29, 1989, Kraft, Inc. merged with General Foods, Inc., another
        Delaware company, with the surviving entity being Kraft General Foods, Inc. See June 27,
        2013 Delaware Certification of various Kraft corporate history facts attached hereto as
        Exhibit C.

    •   On or about January 4, 1995, Kraft General Foods, Inc. changed its name to Kraft Foods,
        Inc., which remained a Delaware corporation. Id.

    •   On or about March 12, 2001, Kraft Foods, Inc. (DE), changed its name to Kraft Foods
        North America, Inc. Id.

    •   On or about March 19, 2004, Kraft Foods North America, Inc. changed its name to Kraft
        Foods Global, Inc. Id.4

    •   On or about March 16, 2012, Kraft Foods Global, Inc., previously a Delaware corporation,
        re-domesticated and converted itself to Kraft Foods Group, Inc., a Virginia corporation.
        At that time, Kraft Foods Group, Inc. was a subsidiary of a Virginia corporation named
        Kraft Foods, Inc. (originally incorporated as Kraft Holdings Virginia Inc. in 2000, and
        different from the Delaware Kraft Foods, Inc. referenced above). See March 12, 2012
        Virginia Articles of Domestication and Articles of Incorporation of Kraft Foods Group,
        Inc. attached hereto as Exhibit D.




4
 Kraft Foods North America, Inc. is the entity that filed the above-referenced successful motions
for partial summary judgment in the P.R. Mallory litigation against certain insurers that issued
policies to or covering Mallory. See 2004 WL 1737489, at *1. Following the 2004 name change,
proceedings in that case continued with Kraft Foods Global, Inc. as a named plaintiff. See P.R.
Mallory & Co., Inc. v. Am. Cas. Co. of Reading, Pa., 920 N.E.2d 736 (Ind. Ct. App. 2010).
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     •   On or about October 1, 2012, Kraft Foods, Inc. (VA) spun off its North American grocery
         business, Kraft Foods Group, Inc. to its shareholders. See September 26, 2012 Articles of
         Restatement of the Articles of Incorporation of Kraft Foods Group, Inc. attached hereto as
         Exhibit E.

     •   In July 2015, through a series of transactions, Kraft Foods Group, Inc. merged with and
         into Kraft Heinz Foods Company (formerly known as H.J. Heinz Company), a
         Pennsylvania corporation. See Exhibits F-I hereto.

         As a result, Kraft Heinz Foods Company is the successor by merger and name change to

Kraft, Inc., and stands in Kraft, Inc.’s shoes as the “Seller” under the 1988 SPA. That is what is

alleged; and that is what is true. Kraft thus possesses pertinent alleged pre-1988 Mallory non-

battery business liabilities and is the proper party for intervention in this action.

C.       Kraft’s Motion Is Timely

         Monsanto argues that the Motion to Intervene is untimely in light of what it claims is a

five- to seven-month “delay” in filing. But, as a matter of law, the Eighth Circuit does not focus

on any particular length of time. “Whether a motion to intervene is timely is determined by

considering all the circumstances of the case.” Mille Lacs Band of Chippewa Indians v. Minnesota,

989 F.2d 994, 998 (8th Cir. 1993). The Eighth Circuit has recognized that “[n]o ironclad rules

govern this determination,” id., and has delineated several factors that courts consider, including

any prejudice that the intervention may cause, how far the litigation has progressed before the

motion is filed, and the reason for the proposed delay in seeking intervention. See id. (citing

Arkansas Elec. Energy Consumers v. Middle S. Energy, Inc., 772 F.2d 401, 403 (8th Cir. 1985)).

These factors must be analyzed on a case-by-case basis.

         The Eighth Circuit’s broad flexibility in granting intervention is evident in Mille Lacs. In

that case, landowners filed their motion to intervene eighteen months after the suit had commenced

and nine months after the deadline for filing motions to add parties. 989 F.2d at 999. The Court

observed that even though the proposed intervenors had received ample notice of the lawsuit and

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that the issues involved in the case could affect their land rights, it emphasized that the underlying

litigation had not progressed to such a point that the proposed intervention would have delayed the

trial or otherwise prejudiced any of the parties. Id. Accordingly, the Court ruled that the motions

to intervene should have been granted and held that the District Court’s denial of the motion to

intervene as untimely was an abuse of discretion. Id.

       Here, this case has progressed even less than the Mille Lacs case, and remains in its infancy.

In fact, it has not yet progressed at all. No scheduling order has been issued, no discovery has

commenced, and the Court has not ruled on any pending motions. This is not a “ninth-inning-with-

two-outs intervention attempt” disfavored by the Eighth Circuit. See, e.g., Mille Lacs, 989 F.2d at

999. (“Although a substantial time passed between the commencement of the suit and the

landowners’ motion to intervene, the legal proceedings were still at a preliminary stage.”); Hadley

v. Isanti County, 2015 WL 13697929, *7 (D. Minn. Nov. 18, 2015) (“The fact that the parties have

only recently commenced discovery indicates that it is not likely that Plaintiff or the Defendants

would be prejudiced should the Court grant the motion to intervene, and weighs strongly in favor

of the motion being timely.”)

       Nor has this case proceeded to a point that intervention would cause delay or prejudice any

of the parties. This is not a case like U.S. v. Ritchie Special Credit Investments, Ltd., 620 F.3d 824

(8th Cir. 2010). In Richie, the proposed intervening party (who was a creditor) initially moved to

intervene on certain grounds after the issuance of an injunction. Id. at 829. In light of various other

rulings, the creditor then filed a second motion to intervene seeking to attack the original injunction

based on issues that could have been raised in the first motion. Id. at 830-31. Unlike here, the

litigation proceedings in Ritchie were “frequent and fervent” and numerous court orders were

already issued. Id. at 832. Finally, the Court in Ritchie found that the party’s interests as a creditor



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were also adequately protected by its participation in another related action. Id. at 834. None of

the facts that existed in Ritchie exist here.

        Seeking to bolster its timeliness argument, Monsanto cites a handful of cases with various

snippets concerning timeliness – but when the facts of those cases are analyzed it is manifest that

none support a conclusion of untimeliness here. See, e.g., In re Wholesale Grocery Prod. Antitrust

Litig., 849 F.3d 761, 767-68 (8th Cir. 2017) (refusing to permit putative class member to intervene

as a plaintiff years into the action where class certification had already been denied, where

intervenor could not be bound by the outcome, and where substantial litigation had ensued –

including significant discovery, motions for summary judgment, class certification, and multiple

appeals); St. Charles Tower, Inc. v. Cnty of Franklin, 2009 WL 3852462, at *1-2 (E.D. Mo. Nov.

17. 2009) (denying intervention where intervenors sought to intervene after parties had resolved

the litigation and submitted a consent judgment for the Court’s approval); Glenn Golden v. Stein,

2021 WL 3087861, at *5-6 (S.D. Iowa Feb. 3, 2021) (granting motion to intervene even on the

eve of trial, and explaining that the intervenor raised questions (including who the real party in

interest was) that the Court found should be resolved before the expense of a trial).

        Despite Monsanto’s failure to identify any prejudice to it at all, Monsanto claims that Kraft

has not adequately justified the short, few months’ time it took to seek intervention in this case.

But Kraft’s timing in filing this Motion was a result of reasonable factors. As Monsanto itself

concedes, Kraft did not even receive notice of the action until February 2023 and only accepted

tender of Gillette’s defense in late April 2023. Below counsel entered his appearance for Gillette

in the case on May 1, 2023. As the Court is fully aware, Plaintiffs’ operative complaint for

indemnity against Gillette as the purported successor-in-interest of Mallory is exceedingly

complex on its face and, in fact, expressly incorporated by reference (through its Exhibit 8) nearly



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100 separate and additional product lawsuits. (ECF No. 4-8.) Through subsequent letters,

Monsanto’s tenders to Gillette ballooned to over 250 such lawsuits – all of which contain many

years of court filings and records and all of which needed to be reviewed to determine if and/or

whether Mallory’s legacy battery or non-battery conduct was at issue in each suit to assess

potential liability retained under the 1988 SPA. This review process was a Herculean and time-

consuming effort. (Plaintiffs, of course, were already fully familiar with these proceedings as they

have been a party in some cases for decades without ever tendering any such cases to Gillette or

Kraft. They did nothing to make this review process easier or more efficient.)

       Thereafter, in mid-June, the named parties engaged in a mediation. While that mediation

did not resolve this action, this process required time and, in light of a possible resolution of the

action, intervention did not make sense at the time anyway. Thereafter, below counsel has been

forced to address ongoing discovery Monsanto directed to Gillette in separate actions in New

Jersey, Vermont, Delaware, Illinois, and Washington. Throughout that time, counsel diligently

continued its investigations into the underlying tendered PCB lawsuits and the extensive corporate

history of Kraft and Gillette (including the transactional and litigation history set out above) before

filing this Motion to Intervene in this case on September 29, 2023.

       There were only 4 months and 28 days between below counsel’s entry of appearance in

this case and the filing of the Motion to Intervene. Given the extensive and above-listed work that

needed to be completed, which does not even account for the investigation of Kraft’s own

corporate transaction history, the passage of a few months was not only reasonably justified but

fully necessary. Monsanto has not cited a single case in its infancy (like this one) where

intervention was denied merely because the Court found the explanation for the timing of filing

the intervention motion insufficient. Every case Monsanto cited evaluated the totality of the



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circumstances, and still other cases not cited by Monsanto (often in their infancy) demonstrated

situations where the Court has little concern over the explanation or found such fact to be less

significant. See, e.g., Mille Lacs Band of Chippewa Indians v. Minnesota, 989 F.2d 994 (8th Cir.

1993) (reversing denial of intervention, even where intervenor’s explanation was “belied” by

various evidence because the case was in its infancy and there was no prejudice); Innova

Specialties Inc. v. Parnell Laboratories (AUST) Pty, Ltd., 2010 WL 2757287, at *2 (E.D. Mo. July

12, 2010) (granting intervention motion and stating that “[a]lthough Parnell Tech has not explained

the six-month delay between its intention to file a motion to intervene and it doing so, the Court

finds the motion timely”). As there has been no significant case progression here, there has been

no prejudicial delay in filing this Motion and no party would be prejudiced by Kraft’s intervention.

The Court, respectfully, should find the intervention Motion is timely.

D.      Kraft Met The Requirements of Rule 24(a)

        1. Kraft Has A Recognized Interest In This Litigation

        An applicant for intervention must demonstrate “an interest in the subject matter of the

litigation.” U.S. v. Union Elec. Co., 64 F.3d 1152, 1161 (8th Cir. 1995). “[T]he interest test is

primarily a practical guide to disposing of lawsuits by involving as many apparently concerned

persons as is compatible with efficiency and due process.” Id. at 1162 (internal quotations and

citations omitted). Other than incorrectly mislabeling Kraft as a mere indemnitor, Monsanto does

not dispute that if Kraft retained any liability vis-à-vis the 1988 SPA it would have a recognized

interest in this litigation. Consequently, given that any liabilities relating to the historic Mallory

pre-1988 non-battery business have been alleged to be retained by Kraft, see supra § A (and as

explained herein were in fact retained by Kraft, see supra § B), Kraft has a substantial interest in

protecting itself against the alleged liabilities raised in the Complaint and has an interest in directly



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litigating this case as a party.

        2.      Intervention Is Necessary To Protect Kraft’s Interests

        Monsanto contends it is not certain Kraft’s interests would be impaired without

intervention, but once again Monsanto ignores the relevant legal standard. Rule 24(a) requires only

that the interest “may as a practical matter be impaired by the present litigation.” See Union Elec.

Co., 64 F.3d at 1167 (emphasis added). The impairment need not be a certainty. Kansas Pub.

Emps. Retirement Sys. v. Reimer & Kroger Assocs., Inc., 60 F.3d 1304, 1307-08 (8th Cir. 1995).

Here, the remedy requested by Plaintiffs in their Complaint is to impose significant liability on the

successor-in-interest to Mallory. This litigation will likely seek to determine the rights and

obligations of various agreements in which Kraft allegedly has an interest, including the 1972

Mallory SU, and without its involvement Kraft’s rights may be impaired, as such rulings might

affect later proceedings through application of res judicata, collateral estoppel, or stare decisis.

This is sufficient, and Kraft has adequately demonstrated this action may as a practical matter

impair or impede its interests.

        3.      Gillette Cannot Adequately Protect Kraft’s Interests

        Consistent with the liberal policy favoring intervention, the requirement of inadequate

representation “is satisfied if the applicant shows that representation of his interest ‘may be’

inadequate; and the burden of making that showing should be treated as minimal.” Trbovich v.

United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972); Berger v. N. Car. State Conf. of

NAACP, 142 S. Ct. 2191, 2204 (2022) (“a movant’s burden” to show inadequate representation is

“minimal.”). This element is evaluated by “comparing the interests of the proposed intervenor with

interests of the current parties to the action, and intervention is appropriate if the interests are

disparate, even if they share the same legal goal.” Animal Prot. Inst. v. Merriam, 242 F.R.D. 524,

528 (D. Minn. 2006) (citing Sierra Club v. Robertson, 960 F.2d 83, 86 (8th Cir. 1992)). While
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both parties may be similarly interested in defeating the liability alleged in the Complaint, such

similarity is insufficient here. As the Supreme Court confirmed, where parties’ interests do not

“overla[p] fully,” there is no presumption of adequate representation. Berger, 142 S. Ct. at 2204.

Because Kraft’s and Gillette’s interests do not “overlap fully,” Kraft’s burden is minimal.

       Seeking to avoid this easily met burden, Monsanto cites numerous inapplicable and

fundamentally different cases. For example, Monsanto cites Arrow v. Gambler Supply, 55 F.3d

407 (8th Cir. 1995) for the assertion that adequate representation is presumed “when the

prospective intervenor’s interest is identical to that of an existing party.” (Opp’n at 11-12.) In

Arrow, the court found the interests identical because not only were the parties on the same side,

but the intervenor’s “interests are literally identical with the Tribe’s because 25 U.S.C. § 81

requires an equal distribution between them of any amount recovered.” Id. at 410. Here, however,

Monsanto has made no such showing and merely assumes Kraft’s interest is identical to Gillette’s

as an indemnitor. As Monsanto’s assumption runs contrary to Kraft’s allegations and the facts (see

supra §§ A, B), Monsanto has not shown that Gillette and Kraft have “identical” interests. And

because Gillette is not the successor-in-interest for the Mallory’s pre-1988 non-battery business,

its incentive is to focus on that fact – arguing it has no liability for anything in this case – and it

has less of an incentive to parse out the meaning, application, and history of the 1972 SU and other

alleged grounds for pre-1988 Mallory liabilities. In short: Kraft and Gillette have different

incentives to focus on different arguments in this case.

       Monsanto’s other cases fare no better. For example, Little Rock Sch. Dist. v. N. Little Rock

Schl. Dist., 378 F.3d 774, 780 (8th Cir. 2004) involved a presumption that a government agency

will adequately represent the public. (“We presume that the government entity adequately

represents the public.”). There are no such government agencies here. Monsanto then cites Arnold,



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Haddley, and Blake for the position that an indemnitor’s interest is adequately represented by an

indemnitee. Even presuming such cases stand for such proposition, they do not apply here because

Kraft is not a mere indemnitor. (See supra § B.1.) It has its own interests. Moreover, the Ninth

Circuit’s 1977 decision in Blake, which discounts the application of stare decisis in the

intervention analysis, conflicts with Eighth Circuit precedent, which states that “[the intervenor]

need not show that, but for its intervention, its interest ‘would be’ impaired by the operation of res

judicata, collateral estoppel, or stare decisis, but rather only that its interest ‘may be’ so impaired.”

See, e.g., Kansas Pub. Employees Ret. Sys. v. Reimer & Koger Assocs., Inc., 60 F.3d 1304, 1308

(8th Cir. 1995) (emphasis added).

        Similarly, United Fire & Cas. Co. v. Titan Contractors Serv. Inc., 2012 WL 3065517 (E.D.

Mo. July 27, 2012), does not apply. United Fire involved an insurance dispute between the

insurance company and the insured that was a defendant in an underlying personal injury action.

The plaintiffs in the underlying action, which involved injuries allegedly suffered by Titan’s

negligence, sought to intervene in the declaratory judgment action to determine if United Fire had

a contractual obligation to indemnify Titan in the underlying lawsuit. United Fire & Cas. Co. v.

Titan Contractors Serv. Inc., 2014 WL 4851801, at *3 (E.D. Mo. Sept. 29, 2014). The court held

that the “virtual[ ] nonexisten[ce]” of common factual questions and the presence of entirely

different issues of law militated against intervention. Id. The court also found the fundamental

problem with the motion to intervene was “movants seek to intervene to step into Titan’s shoes

and defend against its insurer, United Fire, not to assert their own claims or defenses.” Id.

Consequently, the court indicated that the co-defendant had not met its burden to show inadequate

representation by the insured. Id. That is not the case here. Kraft seeks to assert its own defense

to the liability alleged against the successor-in-interest to Mallory alleged in the Complaint.



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       Finally, Union Cent. Life Ins. Co. v. Hamilton Steel Prod. Inc., 374 F.2d 820 (7th Cir. 1967)

addressed a situation where a Union sought to intervene because its members were already

litigants. The court found that the “appropriate officers and agents of the Union have been sued in

their representative capacities and indeed are represented by the same counsel as the Union. There

has been no showing by the Union why these representatives cannot adequately represent the

Union’s interests.” Id. at 823. Here, however, the relationship between Gillette and Kraft is not

remotely equivalent to that between a Union and its officers or agents.

       Nor does Kraft’s ability to control Gillette’s defense or the use of common counsel render

Kraft’s intervention unnecessary. These are still unique entities with unique interests. Gillette and

Kraft are differently situated here because Gillette’s position is that the limited Mallory battery-

related business it obtained under the 1988 SPA is not a source of PCB liability to Monsanto even

if Monsanto is able to state or prevail on a claim against other Defendants. Meanwhile, Kraft’s

position is that while the claims in the Complaint take aim at Mallory liability that it retained under

the 1988 SPA, no such liability can or will be proven. While Kraft is aligned with many of the

Defendants, that does not mean its interests are fully and completely represented by any other

Defendant, including Gillette. Ultimately, as the holder of the relevant potential liability, Kraft is

better equipped to aggressively defend this litigation. Kraft has clearly met its burden.

       3.      Kraft Can Establish Standing

       As set forth in Kraft’s Memorandum, because the remedies sought by Plaintiffs against the

successor-in-interest to Mallory, if awarded, could result in a significant monetary judgment for

which Kraft would have ultimate responsibility, Kraft has a sufficient injury to establish Article

III standing. (Mem. at 8-9.) Monsanto only claims the Court should reject these allegations because

Kraft “is not the entity on the hook” for liability. (Opp’n at 13.) However, as explained herein,



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Kraft adequately alleged and demonstrated that under the 1988 SPA, its predecessor, Kraft, Inc.,

retained responsibility for liability allegedly resulting from the non-battery business operations

and activities of Mallory taking place prior to the 1988 SPA’s Closing and has, therefore,

adequately demonstrated standing.

E.      Alternatively, The Court Should Permit Kraft To Intervene Under Rule 24(b)

        If the Court denies Kraft’s request for intervention under Rule 24(a)(2), it should

nevertheless exercise its discretion to grant permissive intervention under Rule 24(b)(1)(B).

Monsanto does not dispute that there are common issues of law and fact between Kraft’s defense

and Plaintiffs’ claims. Monsanto contends only that allowing Kraft to intervene would potentially

lead to other motions to intervene by other indemnitors or insurers. Neither argument succeeds.

        First, “[t]he principal consideration in ruling on a Rule 24(b) motion is whether the

proposed intervention would unduly delay or prejudice the adjudication of the parties’ rights.” S.

D. ex rel Barnett v. U.S. Dep’t of Interior, 317 F.3d 783, 787 (8th Cir. 2003). The Eighth Circuit

has described intervention as “serv[ing] the judicial system’s interest in resolving all related

controversies in a single action.” Sierra Club v. Robertson, 960 F.3d 83, 86 (8th Cir. 1992).

Permitting Kraft to intervene and participate in the case would avoid potential piecemeal and

duplicative litigation that may otherwise be required to resolve the issues implicating Kraft’s

interests that are raised by the instant action.

        Second, Monsanto’s claim that it would be prejudiced due to duplicative arguments and

expansion of issues is based on factually distinguishable cases. (Opp’n at 14-15.)5 See Allied World



5
  Monsanto’s position is inconsistent. When it suits Monsanto, it argues Kraft will merely bring
duplicative arguments and therefore intervention should be denied. At other times Monsanto
claims the issues would be different and expansive and, therefore, intervention should be denied.
Monsanto cannot have it both ways.


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Specialty Ins. Co. v. City of Ferguson, Missouri, 2019 WL 8014407 (E.D. Mo. Aug. 8, 2019)

(denying intervention in an insurance coverage case based on the same reasons set forth in United

Fire & Casualty Company v. Titan Contractors Service, Inc.); Jiang v. Porter, 2016 WL 4415352

(E.D. Mo. Aug. 19, 2016) (denying permissive intervention and explaining that “[i]n their motion,

the putative intervenors merely recite arguments the SNAP defendants have repeatedly presented

that the Court has repeatedly rejected.”) Here, Kraft does not simply seek to intervene to parrot

the arguments that Gillette might make or to raise arguments that this Court has already rejected

(because there are none). In fact, Gillette is going to make separate arguments – including that

Plaintiffs have erroneously named Gillette as the “successor-in-interest” to all of Mallory’s pre-

1988 liabilities.

        Accordingly, even if the Court disagrees that Kraft has a right to intervene, it should

nevertheless permit Kraft to intervene.

                                            Conclusion

        For the reasons set forth herein and as set forth in their Motion to Intervene, Kraft and

Gillette respectfully request that their joint Motion to Intervene be granted.6



6
  Monsanto’s characterization of Paramount Global and General Electric’s Motion to Reopen
Solutia’s Chapter 11 Case, and Gillette’s Joinder thereto as “an ill-fated attempt” is inaccurate.
While the Bankruptcy Court declined to reopen the Solutia bankruptcy and abstained in deference
to this Court, it provided this Court with substantial guidance on the impact of choices made by
Solutia in its bankruptcy case. Specifically, in Chief Judge Glenn’s August 23, 2023 Opinion, the
Bankruptcy Court concluded that the arguments that “Solutia is precluded from enforcing the
SUAs” because (1) “the SUAs are executory contracts that were rejected under the terms of the
[reorganization] Plan,” and (2) “even if the SUAs were not executory contracts, Solutia failed to
disclose the SUAs as assets and is thus judicially estopped from enforcing them” were not without
merit. In re Solutia, 653 B.R. 99, 121 (Bankr. S.D.N.Y 2023). The Bankruptcy Court noted that
there appeared to be no dispute that “if they SUAs were executory contracts they were rejected
under the Plan and would not be enforceable.” Id. at 121. Further, the Bankruptcy Court found
Solutia’s argument “that it reserved causes of action via its general reservation of rights” to be
“unavailing.” Id. at 124. The Bankruptcy Court stated that “while Solutia may be able to
wordsmith the Plan into a colorable argument that they preserved causes of action, it is not the
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Dated: October 23, 2023



Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 23, 2023, the foregoing was submitted electronically
 for filing through this Court’s CM/ECF system to be served by operation of the Court’s
 electronic filing system upon all counsel of record.


                                                       /s/ Robert P. Berry




case that the Movant’s claim that the causes of action were not specifically preserved is totally
without merit.” Id. at 125. The import of the Bankruptcy Court’s ruling boils down to two main
edicts: First, that this Court should decide, utilizing the substantial guidance from Chief Judge
Glenn, whether the SUs survived the Solutia bankruptcy, arguments that will be presented to this
Court at the first appropriate opportunity and, second, that these defenses “have merit.” See id. at
123. As such, the Motion to Reopen and Gillette’s joinder thereto were certainly not “ill-fated”
and, ultimately, Monsanto is going to be barred by the doctrines of res judicata and judicial
estoppel from asserting claims under the SUs.
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